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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA

                                     Holding a Criminal Term
                              Grand Jury Sworn in on October t5, 20181

{]\ITED STATES          OF A\IERIC-.\

                                                               CRIMINAI, NO.

JEFFREY RA.PHIEL CLARK, JR.
                                                               VIOLATIONS:
                 Defendant.
                                                               r8 u.S.C. $ e22(g)(3)
                                                               (Unlawful Possession of Firearms by
                                                               Person Who is Unlawful User of
                                                               any Controlled Substance)

                                                               D.C. Code S7-2506.01
                                                               (Possession of a Large Capacilv
                                                               Ammunition Feeding Device)



                                               INDICTMENT

         The Grand Jury charges that:

                                                cot \T       o}.'E

          Between on or about October 27,2018, and on or about November 9, 2018, within the

 District of Columbia. thc defendant. JEFFREY R.{PHIEL CLARK, JR.. then being                                  an


 unlawful user ofa controlled substance as defined in Title 21, United States Code, Section 802,

 did unlawfully and knowingly possess firearms in and effecting commerce and receive firearms

 which had been shipped and transported in interstate and foreign commerce. to wit:

          (1)    a Remington      Arms l911 Rl handgun;

          (2)    a Mossberg    Maverick 88 shotgun:

          (3)    a Ruger   Mini   14 Ranch   Rifle; and


I This grand jury was empaneled in the Superior Court      of the District of Columbia and retumed this indictment
pursuant to its authority under D.C. Code $ I l-1916(a).
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              (4)   a Colt .38 Special handgun.

      (Unlawful Possession of a Firearm by a Person who is an Unlawful User of a Controlled
     Substance, in violation of Title 18, United States Code, Section 922(g)(3))


                                             COUNT TWO

            Between on or about October 27, 2018, and on or about   ovember 9, 2018, within the

     District of Columbia, the defendant, JEFFREY RAPIDEL CLARK, JR., did possess a large

     capacity ammunition feeding device.

     (Possession of a Large Capacity Ammunition Feeding Device, in violation of 7 D.C. Code,
     Section 2506.0 l (b) (2001 ed.))


                                                     A TRUE BILL




                                                     FOREPERSO



     �K.k,-/611(
     Attorney of the United States in
     and for the District of Columbia
